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                         UNITED STATES DISTRICT COURT

                         MIDDLE DISTRICT OF LOUISIANA

DERRICK JEROME ALLEN (#295151)
                                                                CIVIL ACTION NO.
VERSUS
                                                                20-510-JWD-EWD
FREDA GEE
                                        OPINION

       After independently reviewing the entire record in this case and for the reasons set

forth in the Magistrate Judge's Report (Doc. 2) dated August 10, 2020, to which no objection

was filed;

       IT IS ORDERED that this action is REMANDED to the Twentieth Judicial District

Court for the Parish of West Feliciana, State of Louisiana, as it was improperly removed by

Plaintiff Derrick Jerome Allen.

       Judgment shall be entered accordingly.

       Signed in Baton Rouge, Louisiana, on October 19, 2020.

                                             S
                                     JUDGE JOHN W. deGRAVELLES
                                     UNITED STATES DISTRICT COURT
                                     MIDDLE DISTRICT OF LOUISIANA
